                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   CASE NO. 3:12-00219
                                                )   JUDGE SHARP
COREY LEE SMITH                                 )

                                          ORDER



       The Court is in receipt of defendant’s letter (Docket No. 194) requesting additional

counsel. A hearing on this request is hereby scheduled for Thursday, January 30, 2014, at 2:30

p.m.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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